91 F.3d 129
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James A. BUTLER, Plaintiff--Appellant,v.RAPPAHANNOCK SECURITY CENTER REGIONAL JAIL;  Mortton J.Leibowitz, Superintendent;  JOHN R. Kuplinski, DeputySuperintendent;  Officer Piquet;  Officer Chastie;  HoustonNorris, Corporal;  John Doe's, Defendants--Appellees.
    No. 95-8598.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  June 20, 1996Decided:  June 28, 1996
    
      James A. Butler, Appellant Pro Se.
      Before HALL, WILKINS, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order overruling his objections to the payment of a partial filing fee and granting him an extension of time to file the fee.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This court may exercise jurisdiction only over final orders, 28 U.S.C. § 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. § 1292 (1988);  Fed.R.Civ.P. 54(b);  Cohen v. Beneficial Indus.  Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    